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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS

  RYAN, LLC, et al.,
                          Plaintiffs,
              v.
                                                  Civil Action No. 3:24-cv-986-E
  FEDERAL TRADE COMMISSION,

                          Defendant.

      BRIEF OF AMICI CURIAE NATIONAL RETAIL FEDERATION,
    NATIONAL FEDERATION OF INDEPENDENT BUSINESS SMALL
    BUSINESS LEGAL CENTER, INC., INTERNATIONAL FRANCHISE
  ASSOCIATION, ASSOCIATED BUILDERS AND CONTRACTORS, INC.,
      AMERICAN HOTEL & LODGING ASSOCIATION, NATIONAL
   ASSOCIATION OF WHOLESALER-DISTRIBUTORS, INDEPENDENT
      ELECTRICAL CONTRACTORS, CONSUMER TECHNOLOGY
   ASSOCIATION, UNITED STATES COUNCIL FOR INTERNATIONAL
  BUSINESS, THE HOME CARE ASSOCIATION OF AMERICA, AND THE
       RESTAURANT LAW CENTER (THE “AMICI”) IN SUPPORT
     OF PLAINTIFFS’ MOTIONS TO STAY EFFECTIVE DATE AND
   PRELIMINARY INJUNCTION (THE “MOTIONS”), ECF NOS. 23 & 46

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                           I.   PRELIMINARY STATEMENT

       The eleven amici represent thousands of companies that collectively employ

 tens of millions of employees at all levels across virtually every facet of the U.S.

 economy. The Federal Trade Commission’s Non-Compete Clause Rule, 16 C.F.R.

 Part 910 and 912 (May 7, 2024) (the “Final Rule” or “F.R.”), is based on cherrypicked

 data that predictably supports the result desired by the Commission’s majority, while

 ignoring or summarily dismissing data that contradicts its preferred policy outcome.

 But the data the Commission selectively chose to credit bears no rational relationship

 to the amici’s centuries of collective experience concerning how employers in their

 respective industries utilize noncompetes. The Final Rule is the very definition of

 arbitrary and capricious rulemaking. The Court should grant Plaintiffs’ Motions.

                     II.    INTEREST OF THE AMICI CURIAE

       The amici are national and international trade organizations (descriptions of

 which are included as Exhibit A), and their interest in the outcome of the litigation is

 that most of their members would qualify as “employers” under the Final Rule and

 the Final Rule would upend their contractual relations with their workforces.

         III.   INTRODUCTION AND SUMMARY OF ARGUMENTS

       The Commission clearly lacks authority to ban noncompetes. However, to

 avoid repeating arguments Plaintiffs have made in support of the Motions, which the

 amici fully endorse, the amici instead focus this brief on additional arguments that

 further justify injunctive relief, namely that the Final Rule is arbitrary and capricious.
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       Specifically, the Final Rule is contradicted by centuries-old law dating back to

 the founding of our nation, legal principles that form the bedrock of our justice system,

 and basic logic. It cannot be afforded any deference for at least two reasons.

       First, the Final Rule is a textbook example of arbitrary and capricious

 rulemaking. Whether a method of competition is unfair has always been an

 individualized assessment in a particular factual context arising among specific

 workers, employers, and competitors. Here, the Commission deviated from that inquiry

 and decreed that the test for determining whether noncompetes are unfair is whether

 they could theoretically result in generalized social outcomes that the Commission

 views as negative in the aggregate—ignoring the benefits of permitting employers and

 employees the freedom to bargain over reasonable post-employment restrictions.

       In doing so, the Commission ignores that, since its birth, our nation has

 maintained a deeply-rooted history and tradition recognizing noncompetes as

 contractual relationships necessary to protect the legitimate business interests of

 employers—relationships that have been the province of state law for over 200

 years. As with any contract, they are the product of a bargained-for-exchange, the

 terms of which can be fair and, in some cases, more than fair to workers. But, unlike

 other contracts, courts already subject noncompetes to a reasonableness inquiry and

 some states impose heightened consideration requirements, all of which is

 specifically designed and intended to protect workers.


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       Worse yet, to support its pre-set agenda to ban noncompetes, the

 Commission’s stated reasoning for the Final Rule is incoherent, relies on

 cherrypicked data, and ignores the myriad concrete benefits of noncompetes. In

 other words, despite spending more than a year crafting the Final Rule after posting

 the Notice of Proposed Rulemaking (“NPRM”), the best the Commission could

 manufacture to support its predetermined outcome is a collection of poorly reasoned,

 self-serving, and aggrandizing conclusions. That is the sine qua non of arbitrary and

 capriciousness.

       Second, as an administrative agency, the Commission is led and staffed by

 unelected bureaucrats who are not politically accountable. The Commission borrows

 derivative and expressly delegated Congressional authority. Such authority is

 predicated and contingent on the Commission complying with certain procedural

 safeguards designed to hold administrative agencies like the Commission to public

 account, such as the public comment period for proposed rulemaking. In mandating

 the Final Rule, the Commission shirked this democratic safeguard. The Commission

 failed to account for the significant points made in the public comments that highlight

 the numerous logical fallacies in the Final Rule, and either ignored or summarily

 dismissed a multitude of thoughtful and well-reasoned comments. If permitted to

 stand, the Commission’s Final Rule poses a real threat to executive accountability.




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       Because the Final Rule is the result of demonstrably arbitrary and capricious

 rulemaking that was plainly intended to reach a predetermined policy outcome, it

 must be afforded no deference. Plaintiffs’ request for injunctive relief is appropriate

 and necessary to avoid the immediate and irreparable harm the Final Rule would

 impose on the hundreds of thousands of American businesses that appropriately rely

 on narrowly tailored noncompetes to protect their sensitive business information,

 customer relationships, and competitive postures, not to mention the benefits

 millions of American workers enjoy in exchange for their agreement not to unfairly

 compete with their former employers for a limited period of time post-employment.

                                  IV.    ARGUMENT

       As detailed further below, former Commissioner Christine Wilson’s thoughtful

 and well-reasoned dissent to the NPRM is equally germane to the Final Rule, if not

 more so given that the Commission spent more than a year since announcing the

 NPRM “finetuning” its purported rationale for taking such draconian action. See

 Dissenting Statement of Commissioner Christine S. Wilson Concerning the Notice of

 Proposed Rulemaking for the Non-Compete Clause Rule, FEDERAL TRADE

 COMMISSION (Jan. 5, 2023). In addition to acting far beyond the authority Congress

 has granted to it, as set forth in Plaintiffs’ Briefs, the Commission’s findings in support

 of the Final Rule are a classic case of arbitrary and capricious rulemaking.




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       A.     The Commission Premised the Final Rule on a Seriously Flawed
              Cost-Benefit Analysis: The Commission Cherrypicks Data to
              Support its Pre-Set Agenda to Strike Down Noncompetes while
              Ignoring Well-Established Evidence of Their Benefits.

       “Agencies ‘are required to engage in ‘reasoned decisionmaking.’” Hauwei

 Techs., USA, Inc. v. Fed. Commc’ns Comm’n, 2 F.4th 421, 432 (5th Cir. 2021)

 (quoting Sierra Club v. EPA, 939 F.3d 649, 664 (5th Cir. 2019) and others). That

 means an agency must “articulate a satisfactory explanation for its action including

 a ‘rational connection between the facts found and the choice made.’” Sierra Club,

 939 F.2d at 664 (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut.

 Auto. Ins. Co., 463 U.S. 29 (1983)). Agency decisions that are not the product of

 reasoned decisionmaking are arbitrary and capricious and must be held unlawful and

 set aside under the Administrative Procedure Act (“APA”). 5 U.S.C.A. § 706(2)(A);

 see e.g., United States v. Garner, 767 F.2d 104, 117–18 (5th Cir. 1985); Action on

 Smoking and Health v. C.A.B., 699 F.2d 1209, 1218 (D.C. Cir. 1983).

       The arbitrary and capricious standard under the APA focuses on the rationality

 (or lack thereof) of the agency’s articulated rationale, as opposed to the substance of

 the decision. “It is well-established that an agency’s action must be upheld, if at all,

 on the basis articulated by the agency itself.” Garner, 767 F.2d at 104 (quoting Motor

 Vehicle Mfrs. Ass’n of U.S., Inc., 463 U.S. at 50). Post-hoc explanations “are simply

 inadequate.” Id. at 117. Courts may not supply reasoned bases for an agency’s

 decision that the agency failed to provide. SEC v. Chenery Corp., 332 U.S. 194, 196

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  (1947). Similarly, courts must not simply accept any stated reason that the agency

  happens to provide for its decision; agency decisions that fail to consider “an

  important aspect of the problem” or that run “counter to the evidence before the

  agency” are arbitrary and capricious. Motor Vehicle Mfrs. Ass’n of U.S., Inc., 463

  U.S. at 43.

        Here, the Commission provided five rationales for the Final Rule that it claims

  to have arrived at by assessing a series of studies: (1) noncompetes are regularly used

  for low wage workers; (2) noncompetes reduce workers’ wages; (3) noncompetes

  stifle new business and ideas; (4) employers regularly coerce workers into signing

  noncompetes; and (5) noncompetes harm consumers. See F.R. 7–21. None of these

  rationales match the extensive experience of the amici in their respective industries.

                1. Noncompetes are not regularly used for low wage workers.

        In the amici’s collective experience, low wage workers are almost never

  subject to noncompetes in their respective industries. Indeed, the amici discourage

  such practices. While there are always outliers, the Commission cites no empirical

  evidence that the use of noncompetes with low wage workers is the norm, only

  anecdotes. But low wage workers are only one facet of the workforce. And anecdotes

  are not evidence of a systemic issue.

        Behind the scenes in each of the amici’s industries there are all manner of

  employees who have access to their employers’ most sensitive business and technical


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  information, as well as relationships with their employers’ vendors and customers.

  These roles can range from senior executives, to finance, to marketing, to buyers, to

  information technology, to supply chain, to logistics—and many other roles where

  employees are compensated well in exchange for agreeing to reasonable

  noncompetes. If any such employee were free to leave at will, cross the street, and

  immediately start working for a direct competitor in the same or similar capacity,

  loss of highly confidential information is virtually inevitable—notwithstanding trade

  secret law and applicable confidentiality agreements—and by the time it is

  discovered it is often too late. However, properly tailored noncompetes can protect

  against such inevitable harm.

        Indeed, if protecting low-wage workers were truly the Commission’s concern,

  it could have taken a far more modest approach, as several states have recently done,

  such as limiting the Final Rule based on some form of generally applicable

  compensation threshold as Oregon, Illinois, Massachusetts, Maine, Maryland, New

  Hampshire, Rhode Island, Virginia, Washington, Nevada, Colorado, and the District

  of Columbia have done. See Epstein Becker & Green, P.C. 50-State Noncompete

  Survey (2023), https://tinyurl.com/52r2tu65. A full-scale ban goes well beyond what

  would be appropriate to accomplish the Commission’s purported goal of protecting

  low-wage workers. Given the lack of evidence that noncompetes are regularly used

  with low-wage workers and the statutory protections already in place for employees


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  in several states—with more following the trend of placing restrictions on the use and

  enforcement of noncompetes each year, see id.—the Final Rule is akin to using a

  sledgehammer to kill a fly.

               2. Noncompetes do not reduce workers’ wages.

        Second, “[t]he Commission estimates that the final rule will increase workers’

  total earnings by an estimated $400 billion to $488 billion over ten years, at the ten-

  year present discounted value.” F.R. 321. In other words, $40 to $48.8 billion per year.

  As an initial matter, this is a far cry from the Commission’s initial estimate just last

  year in the NPRM that the proposed rule “would increase workers’ total earnings by

  $250 to $296 billion annually.” F.R. 441 (emphasis added). The Commission attempts

  surreptitiously to bury this six-fold decrease in estimated increased earnings to

  employees in the middle of its 570-page Final Rule without any explanation for the

  discrepancy in a number that the Commission initially touted as one of the primary

  bases for the purported need to ban noncompetes, including in a New York Times Op-

  Ed by the Chair. See Lina M. Khan, “Noncompetes Depress Wages and Kill

  Innovation,” New York Times (Jan. 9, 2023), https://www.nytimes.com/2023/01/09/

  opinion/linakhan-ftc-noncompete.html (“Surveying the literature, F.T.C. economists

  conservatively estimate that noncompetes suppress American workers’ income by

  roughly 3 percent to 4 percent, or $250 billion to $296 billion.”) (emphasis added).

  That, in and of itself, renders the Final Rule arbitrary and capricious.


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        Nevertheless,    to   support   this       conclusion,   the   Commission    relies

  predominantly upon a 2023 study co-authored by a Commission employee,

  purporting to “find[] that non-competes limit workers’ ability to leverage favorable

  labor markets to receive greater pay.” F.R. 141. The Commission contends that “this

  study has the broadest coverage” and “is very robust.” Id. But what the Commission

  omits is that in an earlier version of this study—the version cited in the NPRM—the

  authors acknowledged that noncompetes “might increase incentives for firms to

  invest in training, knowledge creation, and other portable assets . . . that could

  increase their workers’ productivity and earnings.” Matthew S. Johnson, Kurt

  Lavetti, and Michael Lipsitz, The Labor Market Effects of Legal Restrictions on

  Worker Mobility. SSRN (2021), https://ssrn.com/abstract=3455381. The same study

  admitted that its findings with respect to the effect of noncompetes on wages were

  based on a “back of the envelope calculation using an out-of-sample extrapolation,”

  and even then it only “implies” that banning noncompetes would increase wages. Id.

  Yet that went completely unmentioned in the Final Rule.

        Indeed, as the Commission acknowledges (but then summarily dismisses),

  there are, in fact, reputable studies showing correlationally exactly the opposite of

  what the Commission claims—i.e., that workers who are presented with noncompetes

  before accepting job offers receive higher wages and more training, and are more

  satisfied in their jobs than those who are not bound by noncompetes. Evan P. Starr, et


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  al., Noncompete Agreements in the US Labor Force, 64 J. L. & Econ. 53, 53 (2021).

  As former Commissioner Wilson aptly pointed out in her dissent to the NPRM, the

  research on this subject “reveals a mixed bag. . . . An alternative interpretation of

  these findings is that the scientific literature is still muddled as to who is helped and

  who is harmed by non-compete clauses.”

        Regardless, the Commission’s bald conclusion is simply not borne out in the

  amici’s experience in their respective industries. To the contrary, employees are often

  asked to voluntarily sign noncompetes in connection with long term incentive plans,

  as consideration for discretionary bonuses, or in connection with promotions or

  generous separation packages. These not only provide consideration for the

  noncompete, but can be very substantial, which obviously increases the recipient’s

  overall compensation. While they may not be “wages” per se, these are potentially

  lucrative forms of compensation that would not be provided in many cases absent the

  protection of noncompetes.

               3. Noncompetes do not stifle new business and ideas.

        Third, noncompetes do not stifle innovation in the amici’s respective industries.

  If noncompetes really did make markets less competitive and discourage new ideas,

  then, until recently, most innovation in the U.S. would have come from California,

  North Dakota, and Oklahoma—the only states prohibiting post-employment

  noncompetes until Minnesota passed legislation doing so in mid-2023. But that is not


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  the case, with many of the more recent hubs of innovation being in states that enforce

  noncompetes, including Arizona, Massachusetts, Texas, and Utah.

        As Plaintiff suggests, the Commission’s claim that abolishing noncompetes

  fosters innovation by removing barriers to information sharing is self-defeating

  because the Commission simultaneously claims that employers will mitigate the

  damage a prohibition on noncompetes would cause by swapping noncompetes for

  other barriers to information sharing, such as non-disclosure agreements (“NDAs”)

  and trade secret protections, without any cogent data to suggest that such other

  barriers affect innovation differently than noncompetes. See ECF No. 22 ¶ 65. To be

  sure, banning noncompetes nationwide would likely weaken competition, in that

  new market entrants would be at enhanced risk of having key employees and critical

  information, techniques, and strategies stripped from them by well-heeled large

  companies. One might think the Commission would want to encourage small

  business formation of this sort.

               4. Employers do not regularly coerce workers into signing
                  noncompetes.

        Fourth, it is simply untrue that employers in the amici’s respective industries

  regularly coerce employees into signing noncompetes. While there undoubtedly are

  bad actors, the Commission has cited no evidence that employers regularly—or even

  often—coerce employees to sign noncompetes. To suggest otherwise ignores that

  employees often receive substantial consideration in exchange for signing

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  noncompetes, not only in the form of a job, a salary, and benefits, but often also equity

  and other potentially lucrative forms of compensation, as discussed above.

        The Commission claims that there is unequal bargaining power between

  employers and employees. While that may have been true historically for certain

  positions, that paradigm has shifted in the post-COVID era, as open positions often

  outstrip demand among the pool of available employees, and some businesses have

  been forced to close for lack of staffing. In any event, eight states and the District of

  Columbia have enacted laws to address this purported inequity by requiring advance

  notice of noncompetes often weeks before they are to take effect, giving employees

  time to make informed decisions before accepting new jobs and resigning from old

  ones, and notice of a right to counsel, all of which would address any bargaining-

  power disparity favoring the employer. See Epstein Becker & Green, P.C. 50-State

  Noncompete Survey (2023), https://tinyurl.com/52r2tu65.

               5. Noncompetes do not harm consumers.

        Finally, far from harming consumers in the amici’s respective industries,

  noncompetes benefit them in various ways. For example, it is a truism in any industry

  that an increase in the cost of wages—indeed, virtually all increased costs—is passed

  along to the consumer. Assuming the opposite is illogical. Indeed, as former

  Commissioner Wilson pointed out in her dissent, the NPRM (and now the Final Rule)

  “omits studies showing that reducing the enforceability of non-compete restrictions


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  leads to higher prices for consumers.” Thus, to the extent that noncompetes drive

  down wages (which the amici deny), even the Commission admits that lower prices

  are the natural result: “By suppressing workers’ earnings, non-competes decrease

  firms’ costs, which firms may theoretically pass through to consumers in the form of

  lower prices.” F.R. 197.

        The opposite is indisputably true too; if noncompetes are prohibited, any

  increase in the cost of wages will likewise be passed along to consumers in the form

  of higher prices. Again, the Commission acknowledges that “it is theoretically

  possible that higher labor costs could be passed on to consumers in the form of higher

  prices,” but quickly and curiously dismisses that possibility, summarily concluding

  that “there are several countervailing effects from prohibiting non-competes that

  would tend to lower prices.” F.R. 200.

        B.     The Commission’s “Reasoning” is Fallacious, Internally
               Inconsistent, Confirmation Bias Dressed as “Empirical Evidence.”

        Upon closer inspection, and after wading through the Commission’s mire of

  qualifications and hedges, the Commission’s “empirical evidence” is vanishingly

  thin and self-contradictory. The amici initially intended to highlight all the fallacies

  in the Commission’s reasoning, but space constraints preclude the amici from listing

  them all. Nevertheless, this brief sets out a representative sample of the significant

  contradictions and fallacies in the Commission’s so-called “reasoning” that

  demonstrates just how arbitrary and capricious the Final Rule is.

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            1. The Commission’s Reliance on “Empirical” “Data” is Thin,
               Inconsistent, and Highly Suspect.

        What the Commission lacks in legal authority, it fails to make up for with either

  logical principles or cogent quantitative analysis. For instance, when commenters

  pointed to academic writings, including 2019 research by one of the Commission’s

  own economists stating that there was limited evidence about the effects of

  noncompetes, the Commission responded by noting dismissively that the author wrote

  in his personal capacity and that “[t]he Commission finds these writings are generally

  outdated and disagrees with them,” F.R. 152, despite being from 2019 and that the

  Commission relied on far older data. Yet when faced with anecdotes and conjecture

  from anonymous and unverified individual commenters that support its preordained

  outcome, the Commission has no such reservations.

        When confronted with issues in the methodologies or resulting conclusions of

  studies the Commission cites in support of the Final Rule, the Commission either

  downplays or altogether denies reliance on those studies in issuing the Final Rule. To

  illustrate, the Commission cites a study suggesting that noncompetes negatively affect

  the race and gender gap for support of its Final Rule. F.R. 141. More than fifteen pages

  later, and only when confronted with a commenter’s criticism of its reliance on that

  study, does the Commission state that it “does not rest its finding in this final rule that

  non-competes tend to negatively affect competitive conditions on findings of increased

  discriminatory behavior or exacerbation of gender and wage gaps.” F.R. 158.

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        Similarly, despite its earlier bravado that noncompetes affect consumer

  pricing, the Commission tucked away a note admitting that the empirical literature

  on the effects of noncompetes on consumer pricing is thin—even thinner than the

  “evidence” on which the Commission relied with regard to new business formation

  and innovation (almost all of which had to be qualified and/or was criticized by

  experts, including the studies’ own authors). F.R. 196. This informational bait-and-

  switch occurs with so much frequency, the amici have difficulty identifying the

  “empirical evidence” that the Commission actually relied on to pass the Final Rule.

        Furthermore, the Commission appears to have selected the studies it chose to

  credit not based on scientific methodology, but on whether the outcome corresponded

  with the Commission’s pre-set agenda to ban noncompetes. To illustrate, the

  Commission references Professor Evan Starr 115 times and Professors Norman

  Bishara and J.J. Prescott another 46 times each in its commentary, yet it cherrypicks

  which individual findings of those studies to credit. The Commission relies

  extensively on the three professors’ seminal noncompete study for its conclusions that

  noncompetes are used with all manner of employees, F.R. 15–16, that employees

  rarely “seek assistance of counsel in connection with non-competes,” id. 125, and that

  “employers frequently use non-competes even when they are unenforceable under

  State law,” id. 437. Yet the Commission curiously gave only “minimal weight” to that

  study’s conclusion that workers who are presented with noncompetes before accepting


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  job offers receive higher wages and more training, and are more satisfied in their jobs

  than those who are not bound by noncompetes, because it “does not find that this

  evidence represents a causal relationship.” Id; see also id. 311 (“Commenters asserted

  that Starr, Prescott, and Bishara found that notice of noncompetes alongside a job offer

  is positively correlated with training compared to later notice. In response, the

  Commission notes that the evidence is a correlation between early notice and training,

  not a causal finding, so the Commission gives it minimal weight.”). Similarly, the

  Commission gives curiously “little weight” to several other studies showing that

  noncompete use is associated with higher earnings because they “merely reflect

  correlation and are unlikely to reflect causation.” Id. 146. This is a common refrain

  throughout the Commission’s commentary when faced with a study’s result it does

  not care for. See, e.g., id. 150, 152, 240, 311, 418.

        But in giving this back-of-the-hand treatment to disfavored findings, the

  Commission overlooks the inconvenient fact that virtually all the studies it chose to rely

  on are themselves correlational and not causational; indeed, the Commission itself

  identifies only one study it relied upon that even “attempts to identify [a] causal link.”

  F.R. 284. The Commission’s apparent lack of qualms about relying on correlational

  studies that support its preferred policy outcome belies the Commission’s stated

  rationale for dismissing contrary findings as “merely” correlational.




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          In what can only be described as a self-serving attempt to explain which

  studies it chose to weigh more heavily, the Commission states that it “gives more

  weight to studies with methodologies that it finds are more likely to yield accurate,

  reliable, and precise results,” and then goes on to identify five “guiding principles”

  that give the Commission virtually unfettered discretion in determining which

  studies to credit. F.R. 107–11. Moreover, the Commission acknowledges that

  “[w]hile these five guiding principles are important indicators of the relative strength

  of empirical studies evaluated by the Commission for the purpose of this final rule,

  the Commission’s assessment of empirical studies was holistic and relied on its

  economic expertise.” Id. 111. In other words, the Commission set its own subjective

  and unspecified standards for determining which studies to credit, which it may or

  may not (it does not actually say) have disregarded in favor of an undefined

  “holistic” assessment based on its purported “economic expertise.”1 Unsurprisingly,

  this results-oriented “analysis” led to the Commission crediting only those studies

  that support the worldview its Chair has publicly espoused for years.

          1
             Almost comically, the Commission claims this purported “expertise” based on its assertion that
  “non-competes have already been the subject of FTC scrutiny and enforcement actions, so subjecting them
  to rulemaking is a more incremental—and thus less significant—step than it would be for an agency to
  wade into an area not currently subject to its enforcement authority” F.R. 39. What the Commission leaves
  out, however, is that these three “enforcement actions,” all of which ended in consent decrees, were
  announced just one day before it announced the NPRM, which ostensibly was timed so that the Commission
  could claim such expertise. Indeed, in the press release announcing the enforcement actions, the
  Commission acknowledged that “these actions mark the first time that the agency has sued to halt unlawful
  noncompete restrictions.” See FTC Cracks Down on Companies that Impose Harmful Non-Compete
  Restrictions on Thousands of Workers, FEDERAL TRADE COMMISSION (Jan. 4, 2023), https://www.
  ftc.gov/news-events/news/press-releases/2023/01/ftc-cracks-down-companies-impose-harmful-noncompete-
  restrictions-thousands-workers.
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        The Commission’s logic is lacking in several other respects. For instance, the

  Commission cites a study of Hawaii’s tech industry noncompete and no-poach ban

  to make conclusions about noncompetes, dismissing the effect on wages from the

  no-poach ban as unlikely to have a “major effect” (whatever that means), in part

  because while no-poach agreements “may prevent some workers from hearing about

  some job opportunities, [] unlike noncompetes, they do not prevent workers from

  taking those opportunities.” F.R. 155. The Commission must have a very dim view

  of its audience if it expects anyone to believe that preventing a worker from learning

  of a job does not also mean preventing the worker from taking it.

        Additionally, the Commission asserts that noncompetes have long been

  “disfavored” as a reason to eliminate them, F.R. 6, while ignoring that they have

  nevertheless existed since the nation’s founding because of their recognized value

  despite how supposedly “disfavored” they may be. The Commission’s view that

  “existing case-by-case and State-by-State approaches to non-competes have proven

  insufficient to address the tendency of non-competes to harm competitive conditions

  in labor, product, and service markets,” F.R. 5, is fallacious for the reasons set forth

  above. But even if true, the Final Rule is not the solution.

        Indeed, many state legislatures have been revising their noncompete laws,

  some recently enough that the statistics upon which the Commission bases its

  rationale are outdated and not reflective of the current market realities. For instance,


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  the data the Commission used to claim that 30 million workers are subject to a

  noncompete is from 2019, F.R. 14, before Illinois passed the Illinois Freedom to

  Work Act, 820 ILCS 90/1, et seq. (as just one example), and before the pandemic

  changed the landscape of remote work. Indeed, the Commission’s conclusions are

  based on outdated data; to illustrate, the most recent data in a study the Commission

  touts as “very robust” is already a decade old. F.R. 141.

        Better, more recent data has become available, such as a 2023 report issued

  by the Federal Reserve Bank of Minnesota that calls into question many of the

  assumptions in the Commission’s analysis, finding, for example, that only 11.4%,

  not 20–25% (as the Commission claims), of workers are subject to a noncompete.

  See Tyler Boesch, et al., “New data on noncompete contracts and what they mean

  for workers,” FEDERAL RESERVE BANK OF MINNEAPOLIS (June 21, 2023),

  https://www.minneapolisfed.org/article/2023/new-data-on-non-compete-contracts-

  and-what-they-mean-for-workers. Notably, while Minnesota is the only state to ban

  noncompetes in well over a century, every other state that has considered doing so

  since 1890 has either enacted compromise legislation that suits the needs of its own

  economy and preferred socioeconomic outcomes, and balances the interests of all

  stakeholders, or has done nothing.2




        2
            Michigan banned noncompetes in 1905, but repealed the ban in 1985.

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        Moreover, several of the “studies” the Commission cites are more accurately

  described as “surveys” that ask employees and employers about their experience

  with noncompetes, and then extrapolate and draw conclusions from the survey

  results. See, e.g., Starr, et al., supra § A.2. But this methodology has at least one

  major flaw. Specifically, as the term “noncompete” is a common colloquialism used

  to refer to all manner of post-employment restrictive covenants, the survey

  respondents, no matter how sophisticated they are, may not distinguish between

  noncompetes and other types of post-employment restrictions, claiming to be bound

  by “noncompetes” when that is not technically accurate. See Comment of Practicing

  Attorneys, FTC-2023-0007-21073, at p. 30. While the surveys may be designed to

  avoid this, that is easier said than done, as the Commission itself concedes in another

  context: “Many of the comments from small businesses, as well as from other

  commenters, appear to confuse non-competes with other types of agreements, such

  as non-solicitation agreements or NDAs, and argue that non-competes are needed to

  prevent former workers from taking the employer’s customers or clients or

  disclosing confidential information.” F.R. 535. In other words, the Commission

  relies on surveys that necessarily require the surveyed employees to fully understand

  this distinction, and assumes that they do, but dismisses comments from small

  business owners and others for purportedly not being able to do so.




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          These examples are only a small subset of the logical and statistical fallacies

  pervading the Commission’s analysis. That the Commission made selective choices

  among stale data in support of its pre-set agenda does not a reasoned decision make.

                   2. The Commission’s Reliance on “Qualitative” “Data” from
                      Worker Comments is Misplaced.

          Perhaps a nod to the gaping holes in its quantitative analysis, the Commission

  relies heavily in numerous places on the “qualitative evidence” of the harms of

  noncompetes as “demonstrated” by workers in the comments to the NPRM, stating

  that “the comments provide strong support for the Commission’s finding that non-

  competes are exploitative and coercive because they trap workers in jobs or force

  them to bear significant harms and costs.” F.R. 131; see also id. 10–14, 119–121,

  127–28, 147–49, 163, 360, 366, 368, 378. The Commission’s reliance on certain

  comments for support, while ignoring and downplaying others, is questionable at

  best and certainly not grounds to overhaul employment relationships for hundreds

  of thousands of employers and tens of millions of employees nationwide.

          First, the “exemplary” comments the Commission decided to pull from the

  26,000+ submitted are from workers in various industries, such as asphalt sales,

  power-washing, bartending, etc., as well as from physicians and other professionals.

  Id. 11.3 While those individuals may bring their personal perspectives and


          3
             The Commission asserts that “Among these [26,000+] comments [it received], over 25,000
  expressed support for the Commission’s proposal to categorically ban non-competes.” F.R. 10. But that is
  a red herring. It is also unsurprising. It is, of course, far simpler to email a one or two sentence message of
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  speculations about market conditions and forces, the overwhelming majority of

  worker-commenters lack the economic and analytic backgrounds to assess the

  relevant factors on a sociological scale or to determine whether a complete ban on

  noncompetes would actually help their economic condition (as opposed to potential

  less-draconian regulations).

          Second, commenters are neither a monolith in support of a total ban, nor are

  they necessarily representative of the average worker subject to a noncompete, as

  the Commission would have the public believe. The Commission claims that

  thousands of the 25,000 comments supporting the Final Rule were from workers

  who have been subject to noncompetes. F.R. 10. But that figure undoubtedly

  conflates support for additional regulations of noncompetes with a total ban, or at

  the very least infers positions from comments that are not necessarily intended.

          Third, the Commission overplays worker support of its ban. Although

  “thousands” of workers submitted supportive comments, F.R. 10, that is only a

  miniscule percentage of the 30 million Americans the Commission claims are subject

  to noncompetes (less than one tenth of one percent, in fact). Furthermore, the




  support, as many of these 25,000+ commenters did, than to prepare a thoughtful, substantive opposition, as
  most of the opponents did. Not to mention, the companies that oppose the Commission’s efforts are all
  possible targets of the Commission’s enforcement activities—hence the dearth of individual company
  responses in opposition to the NPRM, and their reliance instead on industry organizations like the amici to
  communicate their views. This is likely another reason the Commission announced the resolution of several
  enforcement actions just one day before announcing the NPRM—ironic, indeed, given the Commission’s
  stated distaste for the purported in terrorem effects of noncompetes.
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  Commission inexplicably ignores the participation bias in that figure because only

  workers with strong negative experiences are likely to comment publicly. The

  Commission completely ignored the 29.99 million or so impacted American workers

  (according to its own count) who lacked strong enough views to comment. Because

  the worker-commenters are not a random sample, they are not representative of the

  general population. Additionally, as the Commission noted, “[f]ew workers who

  submitted comments reported being compensated for signing a non-compete[,]” F.R.

  123, rendering them poor representatives. Accordingly, the Commission’s “strong”

  reliance on anecdotal evidence of anonymous and unverified commenters is

  unfounded and irrational.

        Fourth, the amici cannot ignore that the Commission uses worker-

  commenters’ anecdotal allegations of illegal workplace conduct, such as sexual

  harassment, to exemplify harms purportedly caused by noncompetes. F.R. 126.

  While these are no doubt serious issues, they have nothing whatsoever to do with

  the Commission’s authority under Section 5 of the FTC Act, no matter how broadly

  the Commission interprets that authority. Moreover, that logic is absurd and highly

  disrespectful to victims of workplace misconduct. The cause of sexual harassment is

  the sexual harasser. Congress and the states have already created a comprehensive

  statutory and regulatory framework to address sexual harassment in the workplace

  and that framework is overseen by other agencies. Critiques of the efficacy of those


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  regulations should be addressed to the agencies with appropriate Congressional

  authority over such issues not made into a strawman argument for an overbroad

  national mandate on a completely unrelated issue from unelected bureaucrats who

  have no expertise in workplace harassment and no authority to address it.

               3. In Producing the Final Rule, the Commission Shirks One of the
                  Only Democratic Safeguards to its Unelected Bureaucratic
                  Regime by Failing to Respond to Several Significant Comments

        The APA sets out strict rulemaking requirements for agencies like the

  Commission to follow before promulgating legislative rules, rules like the Final Rule,

  that will have the force and effect of law. 5 U.S.C.A. § 553. It is a three-step process

  starting with (1) the agency issuing a notice of proposed rulemaking, followed by (2)

  notice of a public comment period, and finished with (3) the agency considering and

  responding to significant comments received during the public comment period. Id.;

  Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). The process is designed to

  “assure fairness and mature consideration of rules having a substantial impact on those

  regulated.” United States v. Johnson, 632 F.3d 912, 931 (5th Cir. 2011) (citation

  omitted). And yet, the Commission ignored the APA in numerous respects.

        First, the exception for senior executives containing both a salary threshold and

  a policy-making duties test was not in the NPRM and, therefore, was not subject to

  public comment or the procedural safeguards inherent therewith. And the Commission

  cannot explain why future noncompetes with senior executives are so egregious as to


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  warrant banning forevermore, yet existing noncompetes with the same class of

  employee are fine. Indeed, this “exception” is so ambiguous and poorly conceived that

  even the Chair does not fully understand it.4 Second, where, as here, the agency blindly

  maintains commitment to its position that noncompetes should be banned despite

  evidence in the comments undermining the rationale for its conclusion, the agency fails

  to demonstrate that the proposed rule is a product of reasoned decisionmaking.5 See,

  e.g., Chamber of Com. of U.S. v. SEC, 85 F.4th 760, 777–80 (5th Cir. 2023).

          As it stands, the Commission is a regulating body consisting of unelected

  political appointees and staffed by career bureaucrats that has shirked one of the only

  democratic safeguards on its otherwise unfettered authority. Just as former

  Commissioner Wilson said in her dissent to the NPRM, the amici are, and respectfully

  submit that the Court should be, “dubious that three unelected technocrats have

  somehow hit upon the right way to think about non-competes, and that all the preceding

  legal minds to examine this issue have gotten it wrong. The current rulemaking record

  does not convince [the amici] otherwise,” nor should it the Court.

          4
            During a recent interview on CNBC, the Chair said the following in response to a question about
  the use of noncompetes with television personalities, who are decidedly not “senior executives” under the
  Final Rule: “If you have a current contract that reflects the fact that this noncompete is in the contract, your
  compensation package probably also reflects that. We don’t want to disturb that because we realize that for
  people who are doing very well for themselves, who are well-situated to bargain, the contract and the
  compensation already reflects the value of the noncompete.” Interview by Andrew Ross Sorkin with Lina
  Khan, CNBC, in New York, NY (Apr. 25, 2024) (emphasis added). But while that is an accurate factual
  statement, and perhaps should be the policy, it is not what the Final Rule actually says. Not even close.
          5
            Indeed, the Commission failed to even address certain kinds of agreements (i.e., direct hire fee
  provisions) that were raised by commenters such as the Home Care Association of America. See 89 FR 38371.
  The failure to even acknowledge (let alone explain) the impact of this rule on such agreements raised in the
  comments violates the APA on its face.
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                                  V.   CONCLUSION

        For the foregoing reasons, the amici respectfully submit that the Court should

  grant Plaintiffs’ Motions and stay the effective date of the Final Rule.


     Respectfully submitted,

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  Dated: May 14, 2024




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                     VI.    CERTIFICATE OF COMPLIANCE

        I hereby certify the foregoing complies with the Procedures for Cases

  Assigned to District Judge Ada Brown and Standing Order, that the foregoing brief

  contains 6,215 words, including footnotes, and excluding the case caption, table of

  contents, table of authorities, signature block, and certificates, and that foregoing is

  typed in 14-point font and the footnotes are typed in 11-point font.

  Date: May 14, 2024
                                             /s/ Edward J. Loya Jr.
                                                 Edward J. Loya Jr.




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                        VII.    CERTIFICATE OF SERVICE

        I hereby certify that on this date, the foregoing document was electronically

  filed in this matter with the Clerk of Court, using the ECF system, which sent

  notification of such filing to all counsel of record.

  Date: May 14, 2024
                                           /s/    Edward J. Loya Jr.
                                                  Edward J. Loya Jr.




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